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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


KANE COUNTY, UTAH (2), (3) and (4),
a Utah political subdivision; and STATE OF           ORDER SETTING BRIEFING
UTAH,                                              SCHEDULE CONCERNING TITLE
                                                 ISSUES AND STAYING SCOPE ISSUES
       Plaintiffs,
v.

UNITED STATES OF AMERICA,                            Case No. 2:10-cv-1073,
                                                     Consolidated with:
       Defendant,                                    Case No. 2:11-cv-1031
                                                     Case No. 2:12-cv-476
SOUTHERN UTAH WILDERNESS
ALLIANCE, et al.,
                                                     Case No. 2:11-cv-1045
       Intervenor-Defendants.




GARFIELD COUNTY (1) AND (2), a Utah                  Judge Clark Waddoups
political subdivision; and STATE OF UTAH,
       Plaintiffs,
v.

UNITED STATES OF AMERICA,

       Defendant,

SOUTHERN UTAH WILDERNESS
ALLIANCE, et al.,

       Intervenor-Defendants.




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       In an Order dated August 22, 2024, the court directed the parties to “confer and propose a

schedule for summary judgment briefing concerning title on the two additional Bellwether Roads,

namely K6000 House Valley Rock Road and G9000 Hole-in-the-Rock Road.” Order, at 2 (ECF

No. 802). The parties complied with the court’s Order, but they were unable to agree upon how

to proceed with this matter due to disagreement whether issues pertaining to title and scope should

be bifurcated.

       On September 13, 2024, the Tenth Circuit Court of Appeals issued a mandate, whereby it

transferred jurisdiction back to this court on issues pertaining to SUWA’s intervention. Mandate

(ECF No. 814-2). The Tenth Circuit concluded that SUWA has a right to intervene on issues

pertaining to scope, but not on issues concerning title. Kane Cnty., Utah v. United States, 94 F.4th

1017, 1035 (10th Cir. 2024).

       Although the Tenth Circuit stated its ruling was not a per se ruling, id. at 1034, when one

applies the reasoning in the Tenth Circuit’s decision, this court presently sees no application where

SUWA may be precluded from intervening as of right in an R.S. 2477 Quiet Title Action on issues

pertaining to scope. Accordingly, the court recognizes SUWA as an intervenor as of right in Kane

County (2), (3), and (4), and in Garfield County (1), as to the G9000 Hole-in-the-Rock Road, but

such intervention is limited only to the issue of scope and not to title. SUWA remains as a limited

permissive intervenor on the issue of title.

       In the United States’ briefing about scheduling, it contends title and scope should be

addressed together because “this Court has already resolved this question, stating that ‘ownership

and scope are the two sides of the same coin that comprises title. Thus, when this court refers to

title, it encompasses both elements.’” United States’ Proposed Schedule for Completion of the


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First Bellwether, at 2 (ECF No. 808) (quoting Mem. Dec., at 15–16 (ECF No. 727 in Case No.

2:10-cv-1073)). That is the view stated by this court, but the Tenth Circuit subsequently held in

this case that title is different from scope whereby SUWA may intervene on scope and not title.

        Based on the unique posture of this case, the court concludes keeping the issues of title and

scope separate is possible by bifurcating the proceedings. Based on the evidence presented at the

bench trial in February 2020, the evidentiary hearing in August 2024, and the summary judgment

briefing that will be done on the K6000 House Rock Valley Road and the G9000 Hole-in-the Rock

Road, title may be determined on the remaining 16 Bellwether roads.

        Once title is determined, it will inform what roads remain at issue for which evidence needs

to be presented on scope. To the extent another bench trial needs to be held to address scope, it

may proceed similar to the second bench trial that was held in Kane County (1), Case No. 2:08-

cv-315. Because a bench trial already has been held, proceeding to another bench trial at this stage,

when it is unknown which Bellwether roads may remain, is an unnecessary expenditure of judicial

resources. Bifurcation also will help keep the evidence and arguments presented by SUWA

discrete from the title issues.

        Accordingly, the court bifurcates the title and scope issues. The following summary

judgment briefing schedule shall apply for the K6000 House Rock Valley Road and the G9000

Hole-in-the-Rock Road:

        Brief                                                         Due Date
        State, Kane County, and Garfield County’s
        Motions for Summary Judgement as to Title                     October 11, 2024

        United States’ Opposition Memoranda as to Title               January 10, 2025

        State, Kane County, and Garfield County’s Reply Briefs        January 31, 2025


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       Once briefing is concluded, the court will determine whether oral argument is necessary

from Plaintiffs and the United States. Issues pertaining to scope are stayed until the court has

issued its decision on title for the 16 remaining Bellwether roads.

       SO ORDERED this 16th day of September, 2024.

                                              BY THE COURT:


                                              ________________________________________
                                              Clark Waddoups
                                              United States District Court




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